                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                   AT CHATTANOOGA

 UNITED STATES OF AMERICA                        ) Case No. 1:17-cr-70-3
                                                 )
 v.                                              ) Judge Travis R. McDonough
                                                 )
 CONELL LANGRAM                                  ) Magistrate Judge Christopher H. Steger

                             REPORT AND RECOMMENDATION

        Pursuant to 28 U.S.C. § 636(b), the undersigned United States Magistrate Judge conducted

 a plea hearing in this case on September 7, 2017. At the hearing, Defendant entered a plea of

 guilty to Count One of the Indictment. On the basis of the record made at the hearing, the Court

 finds that Defendant is fully competent and capable of entering an informed plea; the plea is made

 knowingly and with full understanding of each of the rights waived by Defendant; it is made

 voluntarily and free from any force, threats, or promises; Defendant understands the nature of the

 charges and penalties provided by law; and the plea has a sufficient basis in fact. Acceptance of

 the plea, adjudication of guilt, acceptance of the Plea Agreement, and imposition of sentence are

 specifically reserved for the District Court Judge.

        I therefore recommend that the Court: (1) grant Defendant’s motion to withdraw his not

 guilty plea to Count One of the Indictment; (2) accept Defendant’s guilty plea to Count One of the

 Indictment; (3) adjudicate Defendant guilty of conspiracy to distribute 5 kilograms or more of a

 substance containing a detectable amount of cocaine, a Schedule II controlled substance, in

 violation of 21 U.S.C. §§ 841(a)(1), 841(b)(1)(A) and 846; and (4) order that Defendant remain in

 custody until sentencing in this matter.

        The Defendant’s sentencing hearing is scheduled on January 12, 2018, at 9:00 a.m.



                                                  1



Case 1:17-cr-00070-TRM-CHS            Document 110      Filed 09/13/17      Page 1 of 2     PageID
                                            #: 431
 ENTER.


                                                Christopher H. Steger
                                                UNITED STATES MAGISTRATE JUDGE




                                       NOTICE TO PARTIES

         You have the right to de novo review by the district judge of the foregoing findings. Any
 application for review must be in writing; must specify the portions of the findings or proceedings
 objected to; and must be filed and served no later than fourteen (14) days after the plea hearing.
 Failure to file objections within fourteen days constitutes a waiver of any further right to challenge
 the plea of guilty in this matter. See 28 U.S.C. § 636(b).




                                                   2


Case 1:17-cr-00070-TRM-CHS            Document 110         Filed 09/13/17      Page 2 of 2      PageID
                                            #: 432
